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 8                              UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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     Jenny Brown, et al.,                          Case No.: CV 13-1170-DMG (Ex)
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                                                   ORDER GRANTING UNOPPOSED
12                Plaintiff,                       MOTION FOR EXTENSION OF
13
                                                   TIME TO FILE MOTION FOR
                  vs.                              PRELIMINARY APPROVAL OF
14                                                 CLASS ACTION SETTLEMENT
                                                   AGREEMENT [514]
15   DIRECTV, LLC,
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                  Defendant.
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19         This matter is before the Court on Defendant DIRECTV’s unopposed
20   motion for extension of time to file the motion for preliminary approval of
21   the class action settlement by 14 days. Good cause appearing, DIRECTV’s request is
22   GRANTED. The Parties shall file a motion for preliminary approval of the proposed
23   class action settlement by July 29, 2022, with a hearing date on August 19, 2022 at
24   10:00 a.m.
25   IT IS SO ORDERED.
26   DATED: July 18, 2022                         ________________________________
                                                  DOLLY M. GEE
27
                                                  UNITED STATES DISTRICT JUDGE
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